                                        Case 5:20-cv-03556-BLF Document 89 Filed 02/09/21 Page 1 of 3




                                   1

                                   2                           UNITED STATES DISTRICT COURT

                                   3                       NORTHERN DISTRICT OF CALIFORNIA

                                   4                                SAN JOSE DIVISION

                                   5
                                       IN RE GOOGLE DIGITAL
                                   6   ADVERTISING ANTITRUST                  Case No. 20-cv-03556-BLF
                                   7   LITIGATION
                                                                              Case No. 20-cv-08984-BLF
                                   8                                          Case No. 20-cv-09092-BLF
                                   9   SWEEPSTAKES TODAY, LLC,                Case No. 20-cv-09321-BLF
                                                Plaintiff,
                                  10        v.                                Case No. 21-cv-00022-BLF
                                  11
                                       GOOGLE LLC, et al.,                    CASE MANAGEMENT ORDER NO. 1
                                  12            Defendants.
Northern District of California
 United States District Court




                                  13   GENIUS MEDIA GROUP, INC., et al.,
                                                 Plaintiffs,
                                  14        v.
                                  15
                                       ALPHABET INC., et al.,
                                  16             Defendants.

                                  17   STERLING INTERNATIONAL
                                       CONSULTING GROUP,
                                  18              Plaintiff,
                                             v.
                                  19

                                  20   GOOGLE LLC,
                                                Defendant.
                                  21
                                       MARK J. ASTARITA,
                                  22              Plaintiff,
                                            v.
                                  23

                                  24   GOOGLE LLC, et al.,
                                                Defendants.
                                  25

                                  26
                                  27

                                  28
                                          Case 5:20-cv-03556-BLF Document 89 Filed 02/09/21 Page 2 of 3




                                   1         On February 4, 2021, the parties in the above-captioned cases appeared for a Case

                                   2   Management Conference. As discussed on the record at the Case Management Conference, the

                                   3   Court ORDERS as follows:

                                   4         (1)    The publisher plaintiffs—namely, the plaintiffs in 20-cv-08984-BLF, 20-cv-09092-

                                   5                BLF, 20-cv-09321-BLF, and 21-cv-00022-BLF—shall file a consolidated

                                   6                complaint no later than April 5, 2021. Should the Court find that additional cases

                                   7                are related, consolidation efforts shall include any publisher plaintiffs in these

                                   8                cases.

                                   9         (2)    The publisher plaintiffs shall file applications for appointment of a leadership

                                  10                committee and lead interim counsel no later than February 25, 2021.

                                  11         (3)    A case management conference for all related cases is set for April 8, 2021 at

                                  12                11am. In lieu of filing joint case management statements pursuant to the Local
Northern District of California
 United States District Court




                                  13                Rules, the parties shall meet and confer and submit a single submission by all

                                  14                parties that identifies an agenda of issues they would like to cover and any

                                  15                positions of which they would like to advise the Court. The parties shall file this

                                  16                document one week before the April 8 conference. If the consolidated publisher

                                  17                complaint is not on file by April 8, or good cause appearing, the parties may

                                  18                request a continuance of this date.

                                  19         (4)    The April 8, 2021 hearing date for the pending motion to dismiss in the advertiser

                                  20                case, 20-cv-03556-BLF, will remain as currently set.

                                  21         (5)    Once the pleadings are settled with respect to the consolidated publisher complaint

                                  22                and the consolidated advertiser complaint, the Court will consider whether further

                                  23                consolidation is warranted.

                                  24         (6)    The Court terminates as moot the pending motions to relate and to consolidate at

                                  25                ECF 18, 21, and 24 in 20-cv-08984-BLF. The Court terminates as moot the

                                  26                pending motion to relate at ECF 43 in 20-cv-09092-BLF.

                                  27         (7)    All disputes with respect to disclosures or discovery are referred to the assigned

                                  28                Magistrate Judge.
                                                                                       2
                                          Case 5:20-cv-03556-BLF Document 89 Filed 02/09/21 Page 3 of 3




                                   1          (8)    The parties shall comply with the Court’s standing orders, which are available on

                                   2                 the Court’s website and in the Clerk’s Office.

                                   3

                                   4          IT IS SO ORDERED.

                                   5   Dated: February 9, 2021

                                   6                                                  ______________________________________
                                                                                      BETH LABSON FREEMAN
                                   7                                                  United States District Judge
                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                       3
